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    ATTACHMENT A
  (Defendant’s Proposed
     Pretrial Order)
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                                     PRETRIAL ORDER

       Trial is set to commence in this matter on October 17, 2022, at 9:00 a.m., in Courtroom

19. Jury selection will begin on October 14, 2022, at 9:00 a.m. in the Ceremonial Courtroom.

The following deadlines shall govern pre-trial proceedings:

       1. The Parties shall exchange any written requests for discovery on or before January 14,

2022, with written responses due on or before January 28, 2022. The parties shall file expert

disclosures by June 15, 2022. The Parties shall file their pretrial motions (including motions in

limine), if any, on or before July 15, 2022; oppositions shall be filed on or before August 15,

2022; and replies shall be filed on or before August 29, 2022.

       2. The United States shall notify Defendant of its intention to introduce any Rule 404(b)

evidence not already disclosed on or before September 22, 2022.

       3. The United States should endeavor to make grand jury and Jencks Act disclosures

as to each witness it expects to call in its case-in-chief on or before September 22, 2022. Any

Brady material not already disclosed also must be disclosed by this date.

       4. On or before ___________, 2022, counsel shall file a Joint Pretrial Statement

that contains the following:
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       a. A neutral statement of the case. The parties shall include a neutral statement of the

case for the court to read to prospective jurors.

       b. Proposed voir dire questions. The Parties shall indicate the voir dire questions on

which they agree; and the voir dire questions on which they disagree with specific objections

and relevant legal authority noted below each disputed question.

       c. Proposed jury instructions. The Parties shall submit a list of all standard jury

instructions from the “Red Book” (Criminal Jury Instructions for D.C. (Barbara A. Bergman ed.,

May 2016 ed.)) that they wish to include in the final instructions. The Parties need not submit

the full text of any standard jury instruction but should provide the full text of (1) any modified

standard jury instruction, with the proposed modification(s) redlined, and (2) any non-standard

jury instruction they wish to have the court include. As to each non-standard jury instruction, the

sponsoring party should cite legal authority for the proposed instruction, and the non-sponsoring

party should state any objection to the instruction, including any proposed modifications.

       d. List of witnesses. The Parties shall identify the witnesses that each side anticipates it

may call in its case-in-chief. Only upon leave of court and a showing of good cause will a party

be permitted to withhold a witness’s identity.

       e. Exhibit lists. The Parties shall include an exhibit list that each side anticipates it may

introduce in its case-in-chief. The Parties need not list any exhibit that might be used for

purposes of impeachment. The Parties should confer with the Courtroom Deputy regarding the

form of the exhibit list. The Parties should not provide a copy of the exhibits to the Court but

must exchange pre-marked exhibits. The Parties must be prepared to raise objections to any

proposed exhibit at the Pretrial Conference. The objecting party shall bring three copies of

any contested exhibit to the Pretrial Conference.



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       f. Stipulations. The Parties shall submit a draft of all stipulations.

       g. Proposed verdict form. The Parties shall include a draft verdict form, including any

special interrogatories. The draft verdict form should include a date and signature line for the

jury foreperson.

       5. In addition to filing the Joint Pretrial Statement, on _________, 2022, the Parties shall

transmit, in Word format, an electronic copy of (a) any proposed modification to a standard jury

instruction, (b) any non-standard jury instruction, and (c) the verdict form by email to the

Courtroom Deputy.

       6. Counsel shall appear on __________, 2022, at 10:00 a.m., for a hearing on the

pretrial motions, if necessary.

       7. In addition, counsel shall appear on ___________, 2022, at 10:00 a.m., for a Pretrial

Conference in Courtroom 19.




Dated: December __, 2021

                                                       ____________________________________
                                                       Hon. Carl J. Nichols
                                                       United States District Judge




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